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                           UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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         SANDY C.,1                               Case No. CV 23-01180 RAO
12
                           Plaintiff,
13
               v.                                 JUDGMENT
14
         MARTIN J. O’MALLEY,2
15       Commissioner of Social Security,
16                         Defendant.
17
              In accordance with the Memorandum Opinion and Order filed concurrently
18
     herewith,
19
              IT IS ORDERED AND ADJUDGED that the decision of the Commissioner
20
     of Social Security is AFFIRMED.
21
22
     DATED:         June 28, 2024                    /S/
23
                                            ROZELLA A. OLIVER
24                                          UNITED STATES MAGISTRATE JUDGE
25   1
       Partially redacted in compliance with Federal Rule of Civil Procedure 5.2(c)(2)(B)
26   and the recommendation of the Committee on Court Administration and Case
27   Management of the Judicial Conference of the United States.
     2 Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Martin J. O’Malley,
28   the Commissioner of Social Security, is hereby substituted as the defendant.
